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                           IN THE LINITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICTOF TEXAS
                                      DALLAS DIVISION


JOHNNY OLIVER. III,                                   )
                                                      )
                         Plaintifl                    )
                                                      )
                                                      )
                                                      )
KAUFMAN COUNTY COURT.                                 )
                                                      )
                        Defendant.                    )   Civil Action No. 3:20-CV-1623-C


                                                 ORDER

        Before the Coun are the Findings, Conclusions, and Recommendation of the United

States Magistrate Judge therein advising that the above-styled and -numbered        civil action should

be dismissed without prejudice pursuant to Federal Rule of        Civil Procedure 4l(b).1

        The Court has reviewed the Findings, Conclusions, and Recommendation for clear error

and finds none. It is therefore ORDERED that the Findings, Conclusions, and Recommendation

are hereby   ADOPTED     as the   findings and conclusions of the Court. For the reasons stated

lhcrein, the Court ORDERS that t)fs      clil   action be DISMISSED without prejudice

        SO ORDERED this        ,4f    day of September, 2020.




                                                 SA           C     INGS
                                                          R         D STATES             C'I'JUDGE



        I
       Plaintiff has failed to file objections to the Magistrate Judge's Findings, Conclusions, and
Recommendation and the lime to do so has now expired.
